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January 9, 2021 DATE FILED:_1/11/2021

 

BY ECF

The Honorable Alison J. Nathan

United States District Judge

Thurgood Marshall United States Courthouse
40 Foley Square, Room 2102

New York, NY 10007

RE: Innocence Project v. National Museum of Health and Medicine, No. 19-cv-1574
Letter motion to accept late-filed status report

Dear Judge Nathan,

Plaintiff submits this letter motion to ask the Court to accept the late-filed joint status
report it submitted earlier today. See ECF No. 75. The status report was due yesterday, Friday,
January 8, 2021, per the Court’s order endorsing the parties’ previous status report. ECF No. 74.
The parties’ failure to timely file the report was entirely the fault of undersigned counsel.
Undersigned counsel circulated a draft of the joint status report to Defendant’s counsel on
Thursday, January 7, 2021, and promptly received consent to file from Defendant’s counsel’s
that evening. However, in the midst of other professional obligations on Friday, undersigned
counsel failed to file the status report as required. Counsel realized the oversight earlier today
when reviewing open matters and then immediately filed the report.

Plaintiff respectfully asks the Court to accept the late-filed status report. Undersigned
counsel apologizes to the Court and requests its forbearance for this lapse.

 

The request for an extension of time to file Respectfully submitted,

the status report nunc pro tunc is GRANTED.
The parties shall file a further status report on
or before April 9, 2021. SO ORDERED.

/s/Jonathan Manes

Jonathan Manes

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soorperep. 1/11/2021

ALISON J. NATHAN, U.S.D,J.

 

 

 

 

 

 

 

 
